92 F.3d 1180
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Charles Gwyn PAFFORD, Petitioner-Appellant,v.Ronald ANGELONE;  Daniel T. Mahon, Respondents-Appellees.
    No. 96-6656.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 23, 1996.Decided Aug. 6, 1996.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Samuel G. Wilson, District Judge.  (CA-95-1229-R)
      Charles Gwyn Pafford, Appellant Pro Se.  Wirt Peebles Marks, IV, OFFICE OF THE ATTORNEY GENERAL OF VIRGINIA, Richmond, Virginia, for Appellees.
      W.D.Va.
      APPEAL DISMISSED.
      Before WIDENER, NIEMEYER, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his habeas corpus petition, 28 U.S.C. § 2254 (1988), as amended by Act of Apr. 24, 1996, 29 U.S.C. § 2254 (Law Co-op.  Advance Sheet June 1996).  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we deny a certificate of probable cause to appeal;  to the extent that a certificate of appealability is required, we deny such a certificate.  We dismiss on the reasoning of the district court.   Pafford v. Angelone, No. CA-95-1229-R (W.D.Va. Apr. 4, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    